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                      EXHIBIT 26
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STATE OF TEXAS                )

                              )                      IN RE: LARRY EDGAR ESTRADA

HARRIS COUNTY                 )




                      AFFIDAVIT OF TERESA OCAMPO ESTRADA

       My name is Teresa Ocampo Estrada; I am fifty-two years old and am a resident of Harris

County, Texas. I state the following under penalty of perjury:

       1. I was married to Larry’s uncle Tiberio Estrada. He was from Las Anonas, the same

           village as Juana, Larry’s mother.

       2. I am from Rancho La Estancia, which is about a 35-minute walk from Las Anonas. I

           met Larry’s mother Juana in Mexico. Her family was friendly, but very poor. They

           lived on the crops they planted and had nothing else. A family’s well-being was

           determined by how much livestock they had. That was the difference between the

           richer and poorer families. I had an uncle who had cows, so we had the benefit of the

           cows. When Juana was growing up, her family did not have any cows. They could

           not eat meat.

       3. There was a little girl in Las Anonas named Socorro, who didn’t speak. It is possible

           she was mute, but something was wrong with her. Socorro was related to Juana. She

           did not seem able to do much on her own.

       4. I remember Las Anonas when the main house was Don Miguel Estrada’s and his

           family lived cramped in a few rooms. The houses there were very poor, constructed

           of earth or mud, and wood pieces that held up the house. There were some wooden



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       pieces to frame the house, but these were surrounded by mud. The homes usually

       had two rooms, about 20 x 15 feet each. All of the women and girls slept in one room

       and all of the men and boys slept in another room; sometimes the parents slept in their

       own room. All of the children in a family huddled together because there was so little

       sleeping space.

    5. All the children worked in the field and in the kitchen. The littlest ones worked in the

       kitchen and milking the cows. The men and boys prepared the field for seeding. They

       pulled the plow with a yoke attached to an ox. Once the fields were ready, the girls

       helped to seed – and later harvested the tomatoes and chilies. We used fertilizer,

       which came in 25-50 pound bags and was carried to the fields on mule back. The

       fertilizer was divided into one-foot-tall plastic buckets and the girls and boys spread

       the fertilizer by hand.

    6. There was no indoor plumping so we used the bathroom outside. Children carried

       water from a well to fill a small pool of water where they washed their clothes. This

       was how Larry’s mother, Juana grew up.

    7. Juana’s mother Lencha died during child birth just like her sister Demetria. Demetria

       occasionally stopped by my house on her way back from Las Anonas. She hardly

       spoke and was very quiet. She would ask for nothing more than a glass of water. She

       was very humble, meek, and impoverished. She suffered from hunger and was very

       thin. Her face usually looked sad. Demetria walked hours from Huetamo just to reach

       my home. It was a hard trip for her to make.

    8. There was no school in Las Anonas. Although there was as a school in La Estancia, I

       did not attend. It was common for girls not to go to school in those days. The teacher



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       from La Estancia, however, used to give me work to do at home. I would bring my

       completed assignments to him. This was an unusual arrangement and I was lucky to

       have been able to obtain some education that way.

    9. Juana was approximately 15 years of age when I first met her. Not long after that, she

       was taken away by Rodolfo Jaimes. He brought her to La Estancia. It was likely she

       was taken by force as was often done with Estrada women by Jaimes men. She was

       gone for less than a week. People don’t want to think about how badly it went for her.

       Rodolfo was able to take Juana because she was alone. She had no one to defend her

       since she was an orphan so she was an easy target. The Jaimeses were known to take

       young girls by force. A couple years later she moved to the United States.

    10. I know a good deal about the Jaimeses because my first husband was a Jaimes and my

       mother is too. My uncle Don Emeregildo was the leader of the Jaimeses in La

       Estancia. When I first met Tiberio around 1980, Don Emeregildo told my mother that

       I couldn’t marry Tiberio. My mother did not tell me until years later. The Jaimeses

       wanted to kill Tiberio because I married him against Don Emeregildo’s wishes. That

       was a big factor in Tiberio’s decision to go to the United States.

    11. Everyone was poor in the area except for the Jaimeses because they took land and

       goods by force. The Jaimeses instigated the troubles with the Estrada family. I

       remember how bad it became after Tereso Estrada was shot in the back by Rodolfo

       Jaimes. The Jaimeses wanted to have all of the power in the ranchos in that region.

       They did not think that the Estradas were going to defend themselves, but they did.




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    12. The Jaimeses killed my paternal grandfather Juan Ocampo. They did not do the

       killing themselves. Like a lot of the murders they did, the Jaimeses paid others to do

       the killing. If anyone got in their way, they paid people to kill them.

    13. Women were also often stolen by the Jaimeses. Don Emeregildo stole Don Miguel’s

       wife. Don Miguel was Juana’s maternal grandfather. Don Miguel had to save her.

    14. My father ended up leaving town because of the Jaimeses. He would be dead if we

       had stayed there.

    15. Don Emeregildo always wanted to start trouble. The Jaimeses killed other people

       besides the Estradas, too. I remember the Jaimeses killed a man whose wife was

       named Pilar Maya and the man’s nephew. Around 1977, the Jaimeses killed almost

       ten Mora family members and ran the Moras out of La Estancia. The Jaimeses kept

       people subservient. Even though Don Emeregildo was killed in the 1981 shootout in

       La Estancia, which resulted in the Jaimeses moving to another state, the danger

       hadn’t ended because the Jaimeses still wanted to kill the Estradas.

    16. But unlike those other families, the Estradas defended themselves. In 1985, the

       Jaimeses killed Don Miguel’s son Bertin in an ambush. They wanted to kill the

       Estrada men because they hated that the Estradas were standing up to them and

       fighting back. The Jaimeses also injured his wife Andrea Urrea. Bertin was travelling

       to Las Anonas. The Jaimeses were watching for him at the pass and that was where

       they ambushed him.

    17. Bertin’s murder was very sad. He was very charismatic, funny and chatty. He helped

       people out when he could. He took care of Socorro, the mute girl in the village. He

       took Juana and her brother Albertano into his home after their mother Lencha died. It



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       was customary to give orphans food, but not money. Bertin followed this custom with

       his support for Juana and Tano. Bertin himself was barely able to pay for most of

       what he needed for his own children, so he didn’t really have money to give Juana

       and Tano, anyway.

    18. Even the Estradas who left Mexico for the United States were not completely safe.

       For example, members of the Jaimes family tortured Eriberto Estrada to get

       information about the location of other Estrada family members. They captured

       Eriberto, beat him up and stuck his head in a pool of water so that he would talk.

    19. I first met Larry after I moved to Houston in 1985. He was about 6 years old when I

       met him. Around this time, I lived in an apartment in the Pitner area, and Larry’s

       family lived close to me.

    20. Larry was always alone because Juana was working. She worked two jobs. She knew

       how to make sure the kids did not starve from hunger.

    21. I began to know Larry very well when he was about fifteen years old. Juana had

       moved to Spring Branch and my home was near to where they lived. Larry would

       walk with his younger brother Sergio over to my house to eat. They were usually

       hungry. I made sure to have food available for my children and was happy to feed

       Larry and Sergio. Larry loved my tostadas. After Larry and Sergio ate they would

       stay briefly and then leave.

    22. Larry looked sad and hunched over. He had a sullen appearance and his shoulders

       were usually slumped. He would not look me in the eyes when speaking and would

       not return my gaze.




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    23. I tried to speak with Larry when he came to visit, but he hardly spoke except to ask

       for food. I spoke to Larry in Spanish and he seemed to understand what I told him.

       However, when I asked simple questions in Spanish, like whether he had eaten or

       where his mom was, Larry just looked confused. Larry did understand “come eat” in

       Spanish. He spoke very quietly and usually answered, “yes or no.” Another typical

       response would be for Larry to say “ok, ok”.

    24. Larry never said no to food. I always wanted him to speak to me in Spanish and I

       tried and tried to teach him. Sometimes I would tell him that if he wanted to eat food

       he had to speak Spanish. He would sit there silently, as if saying, “Auntie, what in the

       world are you doing?” He would look off to the side as if he was looking for someone

       to help him. The only thing I could do to help Larry understand what I meant was to

       show him with signs.

    25. We laughed a lot at Larry because he didn’t speak Spanish fluently. Larry spoke

       principally to ask for simple foods, but he couldn’t get those words right. Everyone

       laughed at him. When we demonstrated to Larry how to say the word, Larry would

       repeat it over and over again aloud, trying to get it right, but he often could not. And

       even if he did get it right once, he would not be able to repeat the word correctly the

       next time he came over. Larry’s Spanish was so poor that I thought Juana spoke to

       him in English. All my kids speak Spanish, so why wouldn’t Larry if Juana spoke to

       him in Spanish? Even so, I do not remember hearing Juana speak to Larry in English.

    26. Larry did not seem to have friends. He was shy and meek.




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    27. Larry’s mother Juana has lived her sadness alone. She didn’t talk to anyone about

       what she endured. We talk on the phone now and she tells me how she suffers for

       Larry’s situation.

    28. I remember when Juana was married an American. I saw him twice. He was very

       possessive. Juana had to do whatever he told her. He did not care about Larry or

       Sergio, Larry’s half-brother. He wanted all of her attention for himself.

    29. Juana did many things that the American wanted. She went to his church and tried to

       evangelize. She left the kids at home to go. It was a Baptist church. I saw Juana two

       or three times evangelizing at the flea market on Longpoint St. Juana was alone,

       without her kids. I was very surprised to see her especially because she was pregnant.

    30. Juana was withdrawn during her relationship with the American. He acted roughly

       with her. I had the sense that he was beating her. He did not want Juana to be with her

       extended family.

    31. Juana’s absence in Larry’s life was especially unfortunate because of the gangs

       operating at Northbrook High School. I struggled to make sure my two sons were not

       lured into the gangs. I remember when my son Gilberto was in 10th or 11th grade, two

       of his friends tried to get him in a gang. His teacher, who was from Monterrey,

       Mexico noticed that Gilberto might enter the gang and intervened. The teacher told

       me what was happening so each day I left work early to go to the school and see what

       was happening. The teacher put me behind a glass wall where I could see inside the

       classroom. The other guys wouldn’t leave him alone. After each class, the teacher

       and I met with Gilberto in a private room and talked to him. I also talked to the other




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       boys and told them that I don’t want him killed because he is not a bad kid. This went

       on for four or five weeks.

    32. My older son, Silvino, also experienced pressure to join a gang, but didn’t tell me

       until after. Silvino was stabbed in the back of his right shoulder with a pencil because

       he refused to join a gang, but didn’t tell me at the time. He still has a scar on his right

       shoulder from the attack.

    33. Since Juana wasn’t around much, Presiliano and Catalino knew Larry was vulnerable.

       They were family and Larry did not understand that they could not be trusted even

       though they were related. I tried to talk to Larry, but I simply could not communicate

       with him in English. Even if I could have spoken to him in English, I don’t know if he

       would have understood, and his Spanish wasn’t good enough to understand this

       complicated an issue. At that time, I never went to Juana’s house, because she was

       always working and hard to reach.

    34. I attended two days of Larry’s trial. It seemed like the prosecution was trying to put

       all the crimes on Larry. His attorney did not try to dispute what they said. Larry was

       naïve. He looked confused during the trial.

    35. I never met with Larry’s trial lawyer or spoke to him on the phone. I also never met or

       spoke with anyone who worked with him. The first time I was contacted by anyone

       from Larry’s legal team was in September 2016. If anyone from Larry’s legal team

       had contacted me when Larry was awaiting trial or after his conviction, I would have

       spoken with them and given them the same information contained in this statement;

       however, I spoke no English at the time, so it would have been necessary for them to

       communicate with me in Spanish. I also would have been willing to testify in Larry’s



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          case, help identify other people who knew Larry, or help in any other way I could.

       36. In addition to providing this information, I would have also told Larry’s legal team

          about a number of other witnesses who were responsible for looking after Larry, who

          lived near Larry, and who would have been willing to talk about his difficult

          upbringing and his mental limitations.



          Affiant further sayeth naught.



____________________                               ________________________________

Date                                               Teresa Ocampo Estrada



In witness whereof I have hereunto subscribed my name and affixed my official seal this _____

day of ___________________, 2017.




       _________________________________

       Signed Notary




       Seal




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February 13, 2017

Certification
                                    Park IP Translations


This is to certify that the attached Spanish and English documents of Affidavit of
Ocampo Teresa are t o the best of my knowledge and belief, a true and
accurate equivalent to each other.




_______________________________________

Amanda Varga

Project Manager

Project Number: MABR_1702_013




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